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                                                 UNITED STATES DISTRICT COURT
                                                 WESTERN DISTRICT OF MICHIGAN
                                                      SOUTHERN DIVISION


UNITED STATES OF AMERICA

                                           Plaintiff,                                    Case No. 1:18-cr-00099
v.


Mark Andrew McMichael
                                           Defendant.

                      APPEARANCE BOND AND ORDER SETTING CONDITIONS OF RELEASE

                                                               Type of Bond

      This is a personal recognizance bond.
✔     This is an unsecured bond of $ 25,000 (twenty-five thousand dollars)                                                                                  .

      This is a secured bond of $                                                                                                               , secured by:

           (a) $                                                                                                    , in cash deposited with the court.
           (b) the agreement of the defendant and each surety to forfeit the following cash or other property (describe the cash
           or other property, including claims on it - such as a lien, mortgage, or loan - and attach proof of ownership and value):




           If this bond is secured by real property, documents to protect the secured interest may be filed of record.

           (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):




                                                Forfeiture or Release of the Bond
Forfeiture of the Bond. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court may
order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including interest and
costs.

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the security
will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to serve a sentence.
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                                                           Declarations

Ownership of the Property. I, the defendant, - and each surety - declare under the penalty of perjury that:
       (1) all owners of the property securing this appearance bond are included on the bond;
       (2) the property is not subject to claims, except as described above; and
       (3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value while this
           appearance bond is in effect.

Acceptance. I, the defendant - and each surety - have read this appearance bond and have either read all the conditions of release
set by the court or had them explained to me. I agree to this Appearance Bond.

I, the defendant - and each surety - declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)



             Surety/property owner - printed name                                Surety/property owner - signature and date



             Surety/property owner - printed name                                Surety/property owner - signature and date



             Surety/property owner - printed name                                Surety/property owner - signature and date
I further agree to abide by the additional conditions and provisions of release checked below upon penalty of revocation of my
bond.

                                             Standard Conditions of Release

 ✔     I agree not to commit any offense under 18 U.S.C. § 1503 (influencing or injuring an officer, juror, or witness); 18 U.S.C. §
       1512 (tampering with a witness, victim, or informant), or 18 U.S.C. § 1513 (retaliating against a witness, victim, or
       informant), or any other federal, state or local criminal law.

 ✔     I agree not to use or possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802 unless prescribed by
       a licensed medical practitioner. I agree not to use or possess marijuana, including medical marijuana and/or synthetic
       marijuana, and shall not frequent marijuana grow stores/care facilities, etc.
✔      I agree to personally appear at all proceedings as required by this court and to obey any further orders and directions of
       the court and shall surrender for service of any sentence imposed as directed.
 ✔     I agree to advise the Pretrial Services Office or Supervising Officer in writing before making any change of address,
       telephone number, or employment.
 ✔     I agree not to enter into any agreement to act as an informer or agent of law enforcement agency without the permission
       of the court.
                                             Additional Conditions of Release
 ✔    1. I understand that supervision by Pretrial Services ( ✔ ) is ( ) is not required by the court. If required, I agree to
      report to the Pretrial Service Office or Supervising Officer as directed.
      2. I understand that all the current terms and conditions of supervision remain in effect, and are made a part of this bond.
 ✔    3. I agree to remain in              the Western District of Michigan                 unless I have the prior consent of the Pretrial
      Services Office, Supervising Officer or the court.

 ✔    4. I agree to report as soon as possible to the Pretrial Services Office or Supervising Officer, any contact with law
      enforcement personnel including, but not limited to, any arrest, questioning, or traffic stop.
      5. I agree to submit to urinalysis or other drug testing, treatment and/or counseling as directed by the Pretrial Services
      Office or Supervising Officer and shall pay at least a portion of the cost according to my ability as determined by the Pretrial
      Services Office or Supervising Officer. I also will not obstruct, attempt to obstruct, or tamper with the efficiency and
      accuracy of prohibited substance screening or testing.
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✔   6. I agree to undergo medical or mental health assessment, treatment and/or counseling as directed by the Pretrial
    Services Office or Supervising Officer and shall pay at least a portion of the cost according to my ability as determined by
    the Pretrial Services Office or Supervising Officer.

✔   7. I agree not to:      use or possess any alcohol.
                          ✔ use alcohol excessively.
                            have alcoholic beverages in my home.
                            enter any establishment whose primary function is the serving of alcohol (e.g. bars).

✔   8. I agree not to possess a firearm or firearm replica, destructive device, or other weapon and that all such items shall be
    removed from my place of residence.
✔   9. I agree to maintain or actively seek employment.
    10. I agree to maintain or commence an education program.
    11. I agree not to apply for or enter into any loan or other credit transaction without the previous written permission of the
    Pretrial Services Office or Supervising Officer.
✔   12. I agree to surrender any passport currently in my possession to        Pretrial Services or Probation  and not to obtain
    a passport or other international travel document.
    13. I agree to have no computers in my home and to have no Internet access.
    14. I agree not to:
           have unsupervised contact with minors or to frequent places where children are generally found.
           possess or access any materials, including pictures, photographs, books, writings, drawings, videos or video games,
           depicting and /or describing child pornography as defined by 18 U.S.C. § 2256(8).
           possess any sexually stimulating or sexually oriented material deemed inappropriate by the Pretrial Services Office
           or Supervising Officer and/or treatment staff.
           patronize or be in or around places where sexually explicit materials or stimuli are available (i.e. nude dancing clubs,
           pornography shops, etc.)
    15. I agree to cooperate in the collection of a DNA sample pursuant to 42 U.S.C. § 14135a.
    16. I agree to avoid all contact, directly or indirectly, with any persons who are or who may become a witness, victim,
    informant, or co-defendant, in the subject investigation or prosecution, including but not limited to:




    17. I agree to reside at                                                                                                  and will abide by all
    rules and regulations of the program. Additionally, I am:
           eligible for work release.            not eligible for work release.

    18. I agree to participate in the following location monitoring/restriction program(s) and will abide by all the requirements
    of the program and instructions provided and shall pay at least a portion of any cost according to my ability as determined
    by the Pretrial Services Office or Supervising Officer:
          Curfew: I am restricted to my residence every day
              from                 to               , or      as directed by the Pretrial Services Office or Supervising Officer; or
          Home Detention: I am restricted to my residence at all times except for employment; education; religious services;
          medical, substance abuse, or mental health treatment; attorney visits, court appearances; court-ordered obligations;
          or other activities approved in advance by the Pretrial Services Office or Supervising Officer; or
          Home Incarceration: I am restricted to 24-hour-a-day lock-down at my residence except for medical necessities and
          court appearances or other activities specifically approved by the Pretrial Services Office or Supervising Officer.
          Location Monitoring.


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        19. I agree to reside with/at                                                                                                                                                     .
        20. I agree to being placed in the custody of                                                                                                                                 .
             I, the third party custodian, agree (a) to use every effort to assure the appearance of the defendant at all
             scheduled court proceedings, and (b) to notify the court immediately in the event the defendant violates any
             conditions of release or is no longer in my custody.


                      Signed:
                                                   Custodian                                                                      Date
        21. I agree to the following additional conditions:




                                         Advice of Penalties and Sanctions to the Defendant
             A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation of release, an
order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a fine, or both.
             The commission of a Federal offense while on pretrial release may result in an additional sentence to a term of imprisonment of not more than ten
years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misdemeanor. This sentence shall be in addition to any
other sentence.
             Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to obstruct a criminal investigation. It is a
crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate
against a witness, victim or informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The penalties for
tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted killing.
             If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence, you may be prosecuted
for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
                (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined not more than $250,000
                or imprisoned for not more than ten years, or both;
                (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not more than $250,000 or
                imprisoned not more than five years, or both;
                (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
                (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
             A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In addition, a failure to
appear may result in the forfeiture of any bond posted.
                                                              Declaration of Defendant

        I acknowledge that I am the defendant in this case and that I am aware of and understand the conditions of release. I
promise to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I agree and
understand that this is a continuing bond (including any proceeding on appeal or review) which shall continue until such time as
I am exonerated. I am aware of the penalties and sanctions set forth above.



                                                                                                           Signature of Defendant
✔       This bond was sworn to and signed before a Deputy Clerk of Court or Judicial Officer.
                                          Order and Directions to the United States Marshal
✔       The defendant is ORDERED released after processing.

        The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
        defendant has posted bond and/or complied with all other conditions for release.


Date:                          May 14, 2018                                                                      /s/ Phillip J. Green
                                                                                                              U.S. Magistrate Judge

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